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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION


   ONE FOR ISRAEL, a Texas nonprofit                        Case No. _____________________
   corporation, and EITAN BAR, in his
   individual capacity, and MORDECHAI
   VAKNIN, in his individual capacity,                         Judge _______________________

                    Plaintiffs,
   v.

   YARON REUVEN, in his individual
   capacity,

                    Defendant.



                                              COMPLAINT

               Demand for Jury Trial: Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs hereby demand
                                 trial by jury on all issues so triable.

               COME NOW Plaintiffs, One For Israel (the “Ministry”), Eitan Bar (“Eitan”), and

  Mordechai Vaknin (“Moti”) (sometimes collectively referred to herein as “Plaintiffs”), by and

  through undersigned counsel, and for their Complaint against Defendant Yaron Reuven

  (“Reuven”) state as follows:

                                       NATURE OF THE ACTION

               1.    This is a libel action arising out of a YouTube video created and published by

  Reuven (the “Video”). The Video falsely accuses Eitan and Moti—two missionaries working on

  behalf of the Ministry—of trying to physically assault, batter, and attack a Jewish Rabbi named

  Daniel Asor (“Rabbi Asor”) at a coffeeshop in 2014 (the “Coffeeshop Meeting” or “Meeting”).

               2.    The truth of the matter is that Eitan and Moti never committed any such acts. They

  never committed nor attempted to commit any violence whatsoever against Rabbi Asor. In fact,

  Rabbi Asor himself later called Reuven’s Video “a false story.”

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               3.   The background motivation for Reuven’s false and defamatory lies about Plaintiffs

  is a religious conflict between: (a) Jews who believe in Orthodox Judaism and the Torah

  (“Orthodox Judaism”) and (b) Jews who identify with the Christian Jesus and the New Testament

  (“Messianic Judaism”). Reuven is a leader of the former group: an Orthodox Jewish Rabbi that

  actively opposes Plaintiffs’ efforts to spread Messianic Judaism throughout the world. Reuven

  intended his false and defamatory allegations to slow Plaintiffs’ evangelistic efforts by discrediting

  and destroying the reputation of the Ministry and two of its most prominent missionaries. Such

  motive and intent evidences Reuven’s malice—constitutionally and at common law—in

  publishing his false and defamatory Video.

               4.   Although this conflict originated in religious controversy, this case may be decided

  on neutral principles of secular law. This case does not require adjudication of questions relating

  to religious doctrine. Ultimately, this case is about Reuven’s provably false report that Plaintiffs

  physically attacked and tried to “beat up” Rabbi Asor at the Coffeeshop Meeting.

               5.   Reuven’s Video contains defamatory per se statements that Reuven published

  negligently, with a reckless disregard of the truth, and with actual knowledge of falsity. The Video

  caused Plaintiffs to suffer severe emotional and reputational injury.

                              PARTIES, JURISDICTION, AND VENUE

  A.           ONE FOR ISRAEL (the “Ministry”)

               6.   The Ministry is an initiative of native-born Israelis to bless Israel with Yeshua.

  “Yeshua” is the Hebrew name for Jesus. This initiative is otherwise known as Messianic Judaism.

               7.   The Ministry was established in 1990 and first began as a Bible College in Israel.

               8.   Over the years, the Ministry has expanded to a multi-faceted ministry with the

  express goal of evangelizing Israelis and promoting Messianic Judaism.




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               9.    The Ministry is on the forefront of high-tech evangelism and uses innovative

  methods and technologies to spread Messianic Judaism throughout the world. One of the reasons

  the Ministry specializes in online and digital evangelism and outreach is because many Orthodox

  Jewish Israelis fear the discovery by their friends or family that they read the Bible or any other

  Christian material in support of Messianic Judaism.

               10.   The Ministry is actively opposed by numerous organizations, including a well-

  funded organization operated by Orthodox Jews that rejects and opposes Messianic Judaism in

  Israel.

  B.           EITAN & MOTI

               11.   Eitan and Moti are missionaries working on behalf of the Ministry.

               12.   Eitan and Moti work with youth, soldiers, and students, teaching the New

  Testament and sharing the Gospel of Jesus Christ. Eitan and Moti are passionate about reaching

  their fellow Israelis, especially youth and young adults.

               13.   Eitan is the Director of Media Outreach for the Ministry.

               14.   Eitan has authored several popular books about Messianic Judaism.

               15.   Eitan regularly gives speeches and presentations to individuals wanting to learn

  more about Messianic Judaism.

               16.   Throughout their careers and prior to Reuven’s false accusations, Eitan and Moti

  have maintained strong and positive reputations in the Messianic community and the Jewish

  community at large.

  C.           REUVEN
               17.   Reuven is an Orthodox Jewish Rabbi and a member of the Rabbinical Alliance of

  America, which is a national organization focusing on promoting Orthodox Judaism and serving

  its leaders, religious teachers, chaplains, and other individuals.

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               18.   Reuven is anti-missionary and actively opposes Messianic Judaism and the

  Plaintiffs’ mission in Israel and around the world. Reuven views the Ministry as a heretical

  organization and views Eitan and Moti as heretics.

               19.   Reuven maintains a website, www.beezrathashem.org (sometimes referred to

  herein as the “Website”), that indicates he is a “well known self made [sic] Wall Street

  multimillionaire by the age of 23” who thereafter became a full-time Rabbi.1

               20.   Reuven maintains a mobile application by the same name, “Beezrat Hashem”

  (sometimes referred to herein as the “App”).

               21.   Reuven maintains his own YouTube Channel entitled “Rabbi Yaron Reuven” (the

  “YouTube Channel” or “Channel”). Reuven’s Channel has approximately 21,400 subscribers and

  can be accessed by the Court at https://www.youtube.com/user/ReuvenCapital (last visited July 8,

  2021).

               22.   Reuven is a natural person and not a media defendant.

  D.           JURISDICTION AND VENUE
               23.   The Ministry is a citizen of the State of Texas. The Ministry is a nonprofit

  corporation formed under the laws of the State of Texas and has its principal place of business at

  1300 Glade Road, Colleyville, Texas 76034. Therefore, the Ministry is a corporation and citizen

  of Texas pursuant to 28 U.S.C. § 1332(c)(1).

               24.   Moti is a citizen of the foreign state of Israel. Thus, Moti is a citizen of a foreign

  state within the meaning of 28 U.S.C. § 1332(a)(2) and (a)(3). Moti is an “additional part[y]”




               1
             BeEzratHaShem.org, About Us, https://www.beezrathashem.org/our-rabbis (last visited
  July 7, 2021); see also LinkedIn, Rabbi Yaron Reuven, https://www.linkedin.com/in/yaronreuven
  (last visited July 7, 2021).
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  within the meaning of 28 U.S.C. § 1332(a)(3) because a co-Plaintiff, the Ministry, is a citizen of

  the State of Texas.

               25.   Eitan is a citizen of the foreign state of Israel. Thus, Eitan is a citizen of a foreign

  state within the meaning of 28 U.S.C. § 1332(a)(2) and (a)(3). Eitan is an “additional part[y]”

  within the meaning of 28 U.S.C. § 1332(a)(3) because a co-Plaintiff, the Ministry, is a citizen of

  the State of Texas.

               26.   Reuven is a citizen of the State of Florida, residing in Broward County at 3573

  Southwest 49th Place, Fort Lauderdale, Florida 33312.

               27.   There exists complete diversity of citizenship between the Plaintiffs and Reuven.

               28.   The amount in controversy greatly exceeds Seventy-Five Thousand Dollars

  ($75,000.00), exclusive of interests, costs, and attorneys’ fees. Reuven’s false accusations, as

  alleged below, are defamatory per se. By creating and perpetuating scathing lies about Plaintiffs,

  Reuven caused Plaintiffs to suffer demonstrable hatred and scorn in an amount that a jury will

  find, through their assessment of compensatory and punitive damages, greatly exceeds the

  jurisdictional minimum threshold of this Court.

               29.   This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

  1332.

               30.   This Court has personal jurisdiction over Reuven because he is a citizen of the State

  of Florida and resides in this District.

               31.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Reuven

  resides in this District, is subject to personal jurisdiction in this District, and/or a substantial part

  of the events giving rise to this claim occurred in this District, including but not limited to

  publication and injury.



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                                DETAILED FACTUAL BACKGROUND
  E.           THE COFFEESHOP MEETING
               32.   In the summer of 2014, a young man named Meir Rosh (“Meir”) asked Eitan and

  Moti to meet him at a coffeeshop in Netanya, Israel. Eitan and Moti agreed, and they attended the

  Meeting.

               33.   Meir also asked Rabbi Asor and Rabbi Asor’s representative, Benjamin Kluger

  (“Kluger”), to attend the Meeting. Rabbi Asor and Kluger agreed, and they attended the Meeting.

               34.   At the time of the Meeting, Rabbi Asor was an Orthodox Jewish Rabbi.

               35.   The catalyst for the Meeting was one of religious inquiry: Meir wanted to meet with

  the various religious leaders to help him learn whether he identifies with or adheres to the Orthodox

  beliefs of Rabbi Asor or the Messianic beliefs of Plaintiffs.

               36.   The Meeting lasted approximately two hours; third-party coffeeshop diners and

  staff were present at all times during the Meeting.

               37.   The police were never called to the Meeting, and no police reports were created as

  a result of the Meeting.

               38.   Rabbi Asor did most of the talking during the Meeting.

               39.   No violence occurred between any of the parties before, during, or after the

  Meeting.

               40.   Neither Eitan nor Moti attempted to hit or make violent physical contact with Rabbi

  Asor, Kluger, or Meir before, during, or after the Meeting.

               41.   Neither Eitan nor Moti touched or made violent physical contact with Rabbi Asor,

  Kluger, or Meir before, during, or after the Meeting.

               42.   The Meeting consisted entirely of civil and cordial conversation about Orthodox

  Judaism and Messianic Judaism.

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               43.   After the Meeting, everyone left the coffeeshop peacefully.

               44.   At all times before, during, and after the Meeting, Eitan and Moti acted respectfully

  toward Meir, Rabbi Asor, and Kluger.

               45.   Eitan and Moti have not met with or seen Rabbi Asor since the Meeting.

               46.   After the Meeting, Meir was baptized and joined a Messianic congregation of Jews.

               47.   Reuven did not attend and was not otherwise a witness to the Coffeeshop Meeting.

  F.           REUVEN’S FALSE AND DEFAMATORY VIDEO

               48.   Reuven published the Video to his personal YouTube Channel on February 28,

  2021. Reuven also published the Video to the Website and App on February 28, 2021. Reuven

  also published the Video to Facebook and other social media platforms.

               49.   Reuven’s Video is titled, “What Happened When Missionaries ONE FOR ISRAEL

  Met Rabbi Daniel Asor [sic]? (A BeEzrat HaShem Film).”

               50.   Reuven’s Video is still available online and can be accessed by the Court at

  https://www.youtube.com/watch?v=kN9unLz2OKs (last visited July 7, 2021). The Video is

  hereby incorporated by reference into this Complaint.

               51.   The Video is approximately 7 minutes and 48 seconds long and has been viewed

  on YouTube over 7,500 times.

               52.   At approximately 2 minutes and 37 seconds into the Video, Reuven begins to tell a

  false story of the Coffeeshop Meeting. Reuven states:

                     …. [Rabbi Asor] met with the top two most dangerous missionaries
                     in Israel probably in the world today. There’s [sic] two clowns from
                     One For Israel. Eitan and Moti. He met them at a café. Neutral place
                     to have a debate. But not like they always want to make a stage out
                     of it and so on. But sophisticated debate among peers, if you will.
                     [Rabbi Asor] is trying to get [Eitan and Moti] to leave and abandon
                     their heresy, and surely [Eitan and Moti] are trying to get [Rabbi
                     Asor] to join them. But needless to say, this is supposed to be
                     cordial, nice, civilized and so on. After [Rabbi Asor] destroys both
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                     of them in the café, beats them in the canyon [sic] and debate, proves
                     everything that they’re saying wrong, they both get up and try to
                     beat him up. They both get up and try to beat him up! He was already
                     prepared ahead of time. He was in the air force. He was a smart guy.
                     He already knew this was going to happen ahead of time. He knows
                     Christians like the back of his hands. He already prepared. A few
                     people came in and then broke it up. But they tried to beat him up!
                     They tried to break his bones! Why? In the missionary mentality,
                     this is a necessary evil….

  The above statement from Reuven’s Video will sometimes be referred to herein as “Reuven’s Lie”

  or simply the “Lie.”

               53.   Reuven’s Lie is completely false. Reuven’s Lie is not even remotely close to the

  truth. Eitan and Moti never, at any point, “tr[ied] to beat up” Rabbi Asor at the Coffeeshop

  Meeting. Eitan and Moti never “tried to break [Rabbi Asor’s] bones.” Eitan and Moti took no

  physical action against Rabbi Asor whatsoever.

               54.   Reuven manufactured his Lie out of whole cloth.

               55.   While orating his Lie, at approximately 3 minutes and 2 seconds into the Video,

  Reuven published the Ministry’s logo as illustrated in the below screenshot from the Video:




               56.   While orating his Lie, Reuven published edited videos of Eitan and Moti, showing

  their faces as illustrated in the below screenshots from the Video:

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                                      Eitan




                                      Moti




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  G.           REUVEN’S FALSE AND DEFAMATORY VIDEO CONVEYED STATEMENTS
               OF FACT THAT ARE CAPABLE OF A DEFAMATORY MEANING AND ARE
               DEFAMATORY PER SE
               57.   Reuven’s Video conveyed actionable statements of fact. Reuven’s Video accuses

  Eitan and Moti of committing violent and physical conduct—he accuses them of trying to “beat

  up” Rabbi Asor. This is an accusation of assault and battery that can be proven either true or false

  by a jury. This is not a statement of opinion or rhetorical hyperbole. Reuven intended his Lie to be

  construed and accepted as a statement of fact. Indeed, he titled the Video, “What Happened When

  Missionaries ONE FOR ISRAEL Met Rabbi Daniel Asor [sic]?....”

               58.   Reuven’s Video conveys a false and defamatory meaning about the Plaintiffs. The

  statements claim that Eitan and Moti committed assault and battery and tried to cause bodily injury

  and physical harm to a religious leader. Reuven’s Video implies that Eitan and Moti physically

  attacked another religious leader because the leader disagreed with their religious beliefs.

               59.   Reuven’s Video is defamatory per se because it tends to injure Plaintiffs in their

  trade or profession of Messianic evangelism and because it tends to subject them to hatred, distrust,

  ridicule, contempt, and disgrace. Blake v. Ann-Marie Giustibelli, P.A., 182 So. 3d 881, 884 (Fla.

  Dist. Ct. App. 2016). Moreover, Reuven’s Video is defamatory per se because it imputes that

  Plaintiffs committed a crime. Kirvin v. Clark, 396 So. 2d 1203, 1204 (Fla. Dist. Ct. App. 1981)

  (finding that speaker’s allegation that plaintiff threatened to do bodily harm or injury to the speaker

  was defamatory per se because it imputed a crime).

  H.           REUVEN PUBLISHED NEGLIGENTLY, WITH A RECKLESS DISREGARD OF
               THE TRUTH, AND WITH ACTUAL KNOWLEDGE OF FALSITY
               60.   Reuven published his Video negligently, with a reckless disregard of the truth, and

  with actual knowledge of falsity.




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               61.   Reuven asserts in his Video that his purported source for the story was Rabbi Asor

  himself.

               62.   However, on or about March 3, 2021, Eitan contacted Rabbi Asor via email to ask

  him whether he told Reuven the Lie about the Coffeeshop Meeting. A true and correct copy of the

  email thread between Eitan and Rabbi Asor, translated from Hebrew to English, is attached and

  incorporated by reference as Exhibit A.

               63.   Rabbi Asor told Eitan that Reuven’s Lie is “[n]ot true!” and “[t]ruly a false story.”

               64.   Rabbi Asor’s admission that Reuven’s Lie is false provides evidence that Reuven

  failed to conduct a reasonable investigation into his false accusations and, worse, that he actually

  knew that his Lie was false but published it anyway.

               65.   It is well-accepted that a publisher’s actual malice and state of mind may be proven

  through circumstantial evidence, such as evidence of the publisher’s motive. Harte-Hanks

  Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 668 (1989), cited in Don King Prods. v. Walt

  Disney Co., 40 So. 3d 40, 44 (Fla. Dist. Ct. App. 2010); see also Perk v. Reader’s Digest Ass’n,

  931 F.2d 408, 411 (6th Cir. 1991) (stating that a plaintiff “can present proof of malice in the form

  of cumulative circumstantial evidence, which is often the only way to prove malice in libel

  cases.”).

               66.   Here, Reuven’s motive is apparent on the face of the Video. Reuven sought to

  denigrate and attack missionaries whom he believes to be heretics. Reuven maliciously intended

  that his Lie be used by his followers as a reason to avoid Plaintiffs and eschew their religious

  beliefs. Reuven intended his false and defamatory allegations to slow Plaintiffs’ evangelistic

  efforts by discrediting and destroying the reputation of the Ministry and two of its most prominent

  missionaries.



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               67.   Reuven published the Video with ill will, evil motive, and actual malice. Reuven

  published the Video with a high degree of awareness of its probable falsity. Reuven entertained

  serious doubts as to the truth of his Video. Reuven intended the Video to harm the Plaintiffs’

  reputation.

               68.   Reuven’s actual malice is further evidenced by his failure and refusal to retract the

  Video despite Plaintiffs’ good faith attempts to resolve this matter without the involvement of the

  Court by sending two demands for retraction to Reuven, as alleged below.

  I.           PLAINTIFFS’ TWO            DEMANDS         FOR      RETRACTION           HAVE       BEEN
               UNSUCCESSFUL
               69.   On or about March 3, 2021, Plaintiffs sent Reuven a demand letter via email (the

  “First Demand”). A true and correct copy of the First Demand is attached as Exhibit B and is

  hereby incorporated by reference.

               70.   The First Demand politely asked Reuven to remove the Video from his YouTube

  Channel. Reuven never responded to the First Demand.

               71.   On or about March 9, 2021, Plaintiffs sent Reuven another demand via written letter

  (the “Second Demand”). A true and correct copy of the Second Demand is attached as Exhibit C

  and is hereby incorporated by reference.

               72.   The Second Demand again asked Reuven to remove the Video from his YouTube

  Channel. Reuven never responded to the Second Demand.

                                           CAUSES OF ACTION
                                           Count 1—Defamation
               73.   Plaintiffs restate and incorporate by reference the above paragraphs as if fully

  realleged herein.

               74.   Reuven’s Video is demonstrably false for the reasons previously alleged.



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               75.   Reuven’s Video is of and concerning the Ministry because:

                     a. the Video prominently publishes, during the relevant portion of the Video, the

                          Ministry’s logo; and

                     b. Reuven identifies the Ministry by name and states that Eitan and Moti are

                          missionaries working on behalf of the Ministry.

               76.   Reuven’s Video is of and concerning Eitan and Moti because:

                     a. the Video identifies Eitan and Moti by name; and

                     b. the Video prominently publishes Eitan and Moti’s faces during the relevant

                          portion of the Video.

               77.   Reuven’s Video imputes specific charges of conduct to Plaintiffs, including that

  Eitan and Moti tried to “beat up” Rabbi Asor at the Coffeeshop Meeting.

               78.   Reuven’s Video is capable of a defamatory meaning because, when read and

  viewed by a reasonable reader in context, the specific charges of conduct tend to, in no particular

  order:

                     a.      subject Plaintiffs to hatred, ridicule, and contempt;

                     b.      diminish Plaintiffs’ standing in the community; and

                     c.      denigrate Plaintiffs’ fitness to be evangelists working on behalf of the

                             Ministry.

               79.   Reuven’s Video is defamatory per se for the reasons previously alleged.

               80.   Reuven’s Video contained statements of fact that can be proven either true or false,

  and Reuven intended to convey his accusations about Plaintiffs as statements of fact. Reuven did

  not publish his false accusations as mere parody or opinion.




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               81.     Reuven published his false accusations negligently, with common law malice, and

  with actual malice, as previously alleged.

               82.     Reuven’s Video was not privileged.

               83.     Plaintiffs have suffered significant reputational harm and other damages as a result

  of Reuven’s Video, and Plaintiffs will continue to suffer perpetual reputational harm.

               84.     Reuven’s Video has caused increased threats of potential violence against Eitan,

  Mot, and other employees of the Ministry in Israel.

               85.     As a proximate result of Reuven’s Video, Eitan and Moti suffered severe emotional

  distress and personal physical injury.

  WHEREFORE, Plaintiffs respectfully pray:

               (a) That judgment be entered against Reuven for substantial compensatory damages in an
                   amount to be determined at trial;

               (b) That Reuven be held liable for the reputational harm he has caused Plaintiffs;

               (c) That judgment be entered against Reuven for punitive damages in an amount to be
                   determined at trial;

               (d) That Plaintiffs recover pre- and post-judgment interest;

               (e) That Plaintiffs recover their reasonable attorneys’ fees and expenses from Reuven;

               (f) For trial by jury on all issues so triable;

               (g) That all costs of this action be taxed to Reuven; and

               (h) That the Court grant all such other and further relief that the Court deems just and
                   proper, including equitable relief.




                                             [Signature Page Follows]




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               Respectfully submitted this 21st day of July, 2021:


   HEMMER DEFRANK WESSELS, PLLC                        LEWIS, LONGMAN & WALKER, P.A.

   /s/ Todd V. McMurtry___________                     /s/ Richard P. Green_____________
   Todd V. McMurtry                                    Richard P. Green
   (pro hac vice motion forthcoming)                   (Florida Bar No. 0119530)
   J. Will Huber                                       100 Second Avenue South, Suite 501-S
   (pro hac vice motion forthcoming)                   St. Petersburg, Florida 33701
   250 Grandview Drive, Suite 500                      Phone: (727) 245-0820
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